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                             9                        UNITED STATES DISTRICT COURT
                          10                        CENTRAL DISTRICT OF CALIFORNIA
                          11      MAXUM INDEMNITY COMPANY, a                Case No.   2.: ltr~V- OlfqO 7
                                  Corporation,
                          12
                                             Plaintiff,                     COMPLAINT FOR
                          13                                                DECLARATORY RELIEF
                                       vs.
                          14
                                  LONG BEACH ESCROW
                          15      CORPORATION, a Corporation; JOYCE
                                  CLARK, an Individual, mclusive,
                          16
                                             Defendants.
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                                                                               COMPLAINT FOR DECLARATORY RELIEF
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